        Case 1:19-cr-00095-SPW Document 2 Filed 07/18/19 Page 1 of 3


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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF AMERICA

            IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION

 UNITED STATES OF AMERICA,                 CR 19- q5 -BLG-      4BPW
            Plaintiff,                     INDICTMENT

      vs.                                  STALKING
                                           Title 18 U.S.C. §§ 2261A(2)(B), 2265A(a)
                                           (Count I)
 DONALD RAYMOND FOOTE, JR.,                (Penalty: Mandatory minimum one year to
                                           ten years imprisonment, $250,000 fine, and
            Defendant.                     three years supervised release)

                                           INTERSTATE VIOLATION OF
                                           PROTECTIVE ORDER
                                           Title 18 U.S.C. §§ 2262(a)(l), 2265A(a)
                                           (Count II)
                                           (Penalty: Ten years imprisonment, $250,000
                                           fine, and three years supervised release)




                                       1
         Case 1:19-cr-00095-SPW Document 2 Filed 07/18/19 Page 2 of 3


THE GRAND JURY CHARGES:

                                    COUNT!

      That beginning in or before July 2018, and continuing through December

2018, at Billings, in Yellowstone County, in the State and District of Montana, and

in the State and District of Wyoming, and elsewhere, the defendant, DONALD

RAYMOND FOOTE, JR. with the intent to harass, intimidate, and place under

surveillance with intent to harass and intimidate, Jane Doe 1 and Jane Doe 2, used

an interactive computer service, electronic communication service, electronic

communication system of interstate commerce, and other facilities of interstate and

foreign commerce, to engage in a course of conduct that caused, or would

reasonably be expected to cause, substantial emotional distress to Jane Doe 1 and

Jane Doe 2, in violation of 18 U.S.C. § 2261A(2)(B).

                                    COUNT II

      That in or about December 2018, at Billings, in Yellowstone County, in the

State and District of Montana, and in the State and District of Wyoming, the

defendant, DONALD RAYMOND FOOTE, JR., with the intent to engage in

conduct in violation of a Permanent Order of Protection, previously issued by the

Billings Municipal Court in Case Number CV-925-2018-0000256-OP, dated

October 30, 2018, which ordered protection for Jane Doe 1, Jane Doe 2, and John

Doe 1, from harassment, annoyance, disturbance of the peace, communication,


                                         2
               Case 1:19-cr-00095-SPW Document 2 Filed 07/18/19 Page 3 of 3


      either directly or indirectly, and ordered that the defendant, DONALD

      RAYMOND FOOTE, JR., shall stay at least 1500 feet from Jane Doe 1, Jane Doe

      2, and John Doe 1, travelled from the State of Wyoming into the State of Montana,

      thereby crossing a State line, and engaged in such conduct, in violation of 18

      U.S.C. § 2262(a)(l).

            A TRUE BILL.


                                                     Foreperson signature redacted. Original document filed under seal.




                                                      FOREPERSON




f     JOS
.~~                    ssistant U.S. Attorney




                                             Crim. 'Sbmmons
                                             Warrant:   ,/  -------

                                             Bail:             1/



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